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                      UNITED STATES DISTRICT COURT
                   FOR THE DISCTRICT OF MASSACHUSETTS

BEHNAM KAMVARI D.M.D.                                 )               Civil No.:
                                                      )               1:13-CV-12029-DPW
               Plaintiff                              )
                                                      )       Tort Liability for
VS.                                                   )       Medical Malpractice
                                                      )       and Damages
PRESIDENT AND FELLOWS OF HARVARD                      )
COLLEGE, & CYNTHIA CARTER M.D.                        )
                                                      )
               Defendants                             )

                               AMENDED COMPLAINT

                                  SUMMARY OF CASE

Behnam Kamvari now knows he suffers from Bipolar disorder which was induced and
exacerbated by treatment that he received at Harvard University Health Services. He was
first misdiagnosed at Harvard as having Anxiety Disorder and subsequently as having
Attention Deficit Hyperactivity Disorder (ADHD); both incorrect diagnosis with dire
consequences for his underlying Bipolar illness. To treat the “misdiagnosed” Anxiety
Disorder and ADHD he was prescribed antidepressant therapy (Zoloft, Welbutrin,
Lexepro) followed by additional prescription of Central Nervous System stimulants
(Adderall & Dexedrine), without a mood stabilizer. Because these incorrect medications
were prescribed to Bhenam Kamvari for 15 months, he suffered medication induced
manic psychosis and was detached from reality for several months thereafter, never
regaining his full insight back into life and unaware of the level of damage he sustained
as a result of the negligent care. He progressed to lack of functional recovery leading to a
state of disability; he no longer can be gainfully employed, participate in social activities,
cannot live a normal life and suffers from Post Traumatic Stress Disorder (PTSD).

                                      THE PARTIES

1. Plaintiff Behnam Kamvari D.M.D., (hereinafter “Dr. Kamvari”) is of legal age and is a
resident of Toronto, Ontario, Canada.

2. Defendant President and Fellows of Harvard College (hereinafter “Harvard”) a
Harvard Corporation in charge of Harvard University Health Services in Cambridge,
Massachusetts, and at all relevant times employed Defendant Cynthia Carter, M.D.
(hereinafter “Dr. Carter”).

3. Defendant Dr. Carter is a psychiatrist licensed to practice within the Commonwealth of
Massachusetts. At all relevant times, Defendant Carter was employed at Harvard
University Health Services in Cambridge, Massachusetts.
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                                    JURISDICTION

4. This Court has jurisdiction under 28 U.S.C. 1332 because the matter in controversy
exceeds $75,000 and the Plaintiff is the citizen of a different country than the Defendants

                             GENERAL ALLEGATIONS

5. Dr. Kamvari graduated with Honors and on the Dean’s List from University of
Toronto, Canada, in 2003 with Bachelors in Human Biology.

6. Dr. Kamvari was accepted to Harvard School of Dental Medicine class of 2007 (years
of attendance to be 2003-2007).

7. Dr. Kamvari was a bright student with no history of mental illness prior to his
admission to Harvard School of Dental Medicine in 2003.

8. The first two years of his training at Harvard School of Dental Medicine took place at
Harvard Medical School where he outperformed other Harvard Medical Students in all
tutorials. He was nicknamed in his class “The Genius” by students and faculty, known for
his creativity, outside of the box thinking, sense of humor and extraordinary artistic
abilities.

9. Towards the end of the second year of Harvard Medical School training before
transitioning into Harvard School of Dental Medicine’s 3rd year Dr. Kamvari sought care
at University Health Services for attention issues.

10. On 05/23/2005 without obtaining informed consent or informing Dr. Kamvari of the
adverse effects of treatment with antidepressants, Dr. Allen Irving following his
diagnosis of attention deficit disorder and anxiety disorder continued to treat Dr. Kamvari
with 50mg/d (milligrams per day), of Zoloft, an antidepressant, without paying attention
to Dr. Kamvari’s immediate response to antidepressants and his vastly elevated mood;
notes in his chart “Behnam is feeling much better, mental status shows him in excellent
mood, feeling better he claims than he has in 12 years…his mood is very positive. He has
not been studying though, and the reasons are not clear…”

11. On 06/06/2005 Dr. Irving sees Dr. Kamvari for yet another follow up while Dr.
Kamvari is in an elevated mood state and has become more talkative. Dr. Irving notes in
the chart “Behnam continues to feel much better, and the difference is a vast anxiety
reduction. Mental status shows him in a positive mood, very personable and
conversational.”

12. On 08/12/2005 Dr. Irving, although seeing Dr. Kamvari again in his elevated mood
state noting in the chart “mental status was very positive”, raises Dr. Kamvari’s Zoloft
prescription to 100mg/day.
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13. On 09/02/2005 Dr. Irving notes in his chart that he wants to start a trial of the
stimulant Ritalin.

14. On 09/09/2005 Dr. Cynthia Carter starts taking care of Dr. Kamvari as Dr. Irving
leaves the University Health Services. Dr. Carter also sees Dr. Kamvari in an elevated
mood state caused by previous antidepressant therapy by Dr. Irving. Dr. Carter notes in
her chart regarding this elevated mood state and notes issues with Zoloft; “he has sexual
dysfunction with Zoloft but otherwise feels he is doing “better than ever”; While these
statement “better than ever” may seem as positive response it is a beginning of a very
dangerous state of bipolar disorder induced by SSRI antidepressant monotherapy known
as the hypomanic phase. Instead of seeing the dangers of wrongly prescribed medication,
she supplements additional prescription of an antidepressant Wellbutrin at 150-
300mg/day to thwart sexual effects of Zoloft.

15. On 10/07/2005 Dr. Stephanie Engel sees Behnam again in his elevated mood state.
she describes this elevated mood state as again “better than ever”; she also further wants
to continue with a trial of a stimulant. Dr. Engel notes in her chart that the increase in the
dosage of antidepressant Wellbutrin from 150mg to 300mg made Dr. Kamvari more
“agitated and anxious” warranting careful consideration of the addition of stimulant
therapy noting “we may need to proceed very slowly (with stimulant treatment) given his
adverse reaction to Wellbutrin”. (This was ignored by Dr. Carter)

16. On 11/09/2005 Nurse Anna Healy notes in her chart that patient states “multiple
things going on in my head” following testing from Dr. Cheryl Weinstein who indicated
ADD as her diagnosis, Nurse Healy starts treatment with the stimulant Ritalin at
10mg/day.

17. On 03/27/2006 Dr. Cynthia Carter medical notes state that Ritalin exacerbates Dr.
Kamvari’s anxiety as did Wellbutrin. She increases Adderall prescription to 20mg/day
and adds additional antidepressant Lexapro 10mg/day while still maintaining him on
Zoloft 50mg/day and Wellbutrin 150mg/day.

18. On 04/07/2006 Dr. Cynthia Carter notes extreme elevation in mood following the
start of the new antidepressant and the stimulant Adderall. She notes in her chart that Dr.
Kamvari reports dramatic and positive results, feels “so much better that he couldn’t wait
until Monday apt. to discuss this”. Furthermore she notes the up and down shift in mood
as a result of stimulant Adderall by noting that “He does feel that the meds wear off in the
afternoon and he feels rather down.” Dr. Carter subsequently prescribes short acting
Dexedrine 5-10mg/day to be taken in the afternoon.

19. On 04/14/2006 Dr. Cynthia Carter increases the dose of Adderall from 20mg to
30mg.

20. On 04/28/2006 Dr. Kamvari reports being too different compared to other students
and being teased at school for his extreme behavior. Dr. Cynthia Carter, instead of
focusing on the wrong medication, she discussed Dr. Pierce’s work related to
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microagressions and the manner in which they wear on those who are not of European
descent.

21. On 05/12/2006 Dr. Cynthia Carter notes in her file “He is increasingly aware of the
disconnect between him and other folks.” This is one of the first signs of Dr. Kamvari’s
slow and gradual detachment from reality due to the wrong medication. Instead of taking
him of the CNS stimulants, she increases his Adderall dose to 30mg/day & maintains
Dexedrine 5-10mg/day; she increases his antidepressant Lexapro to 20mg/day.

22. On 06/09/2006 while Dr. Kamvari is on a high dose of amphetamine stimulants and
even short acting amphetamine stimulants to augment the dose of the long acting ones
along with antidepressants and is increasingly feeling isolated due to his extreme
behavior compared to other students, Dr. Cynthia Carter fails to see these symptoms as
consequence of ill prescribed medication and continues to associate race as the prime
reason for Dr. Kamvari’s problems at the school.

23. On 06/26/2006 Dr. Kamvari starts exhibiting classic signs of mania, he discusses
himself in the context of Vincent Van Gogh, sees himself as tremendously innovative and
“beyond” every one else. Per Dr. Cynthia Carter’s notes Dr. Kamvari is “a bit difficult to
interrupt today and difficult to aid him in any form of introspection” which indicates
increased talkativeness but also progressive loss of touch with reality yet another sign
that Dr. Kamvari’s condition was escalating dangerously to full blown Mania which Dr.
Carter failed to recognize.

24. On 07/09/2006 Dr. Kamvari is seen at the Brigham and Women’s hospital for
treatment of shingles on his hand due to stress and lack of sleep. The treating ER doctor
diagnosis him with mania and refers him back to Dr. Carter.

25. On 07/10/2006 Dr. Carter sees Dr. Kamvari, and is put on notice of the diagnosis of
mania made by the ER doctor; however, she fails to make a proper diagnosis of bipolarity
and manic episode and does not dispense the correct medication (mood stabilizer) to
prevent Dr. Kamvari’s mania from escalating further; she keeps him medicated on CNS
stimulants.

26. On 07/17/2006 Dr. Kamvari’s mania due to the administration of high doses of the
stimulant Adderall along with the short acting stimulant Dexedrine has escalated into a
state of stimulant induced manic psychosis. Again Dr. Carter’s notes indicate very
expansive ideas by Dr. Kamvari, including development of new periodontal tools that
would revolutionize dentistry, ideas that he has to cure Aids and Cancer, various
calculations for measurement of time. While presentation of symptoms such as having a
cure for cancer are classical presentations of a full-blown manic episode, Dr. Carter still
cant make the correct diagnosis and fails to dispense the correct moodstabalizing
medication.

27. On 07/19/2006 Dr. Kamvari is sent to mental health urgent care by the dental school
because everyone has noticed that he is in extreme distress.
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28. On 7/20/2006, Dr. Carter notes on this day that the bipolar diagnosis is a diagnosis
that must definitely be ruled out. Furthermore unlike the stimulant Adderall the short
acting stimulant Dexederine is not properly discontinued.

29. On 7/24/2006 after these horrific events and after ending up in mental health urgent
care for a stimulant induced state of manic psychosis is the correct diagnosis of bipolar
finally realized by Dr. Carter;

30. Dr. Kamvari is seen by Dr. David Borrelli of the University Health Services
(distinguished fellow of the American Psychiatric Association) for two appointments
one on 08/14/2006 and one on 08/23/2006 for the treatment of the manic psychosis that
was induced by the incorrect prescription of anti-depressants and CNS Stimulant
medications by Dr.Carter.

31. On 08/23/2006 Dr. David Borreli properly discontinued the last of the CNS stimulant
Dexedrine (10mg/day); however, by this point Dr. Kamvari’s brain has been bombarded
with wrong and harmful medication for 15 months (since 05/23/2005) from which he
never fully recovers.

32. Dr. Kamvari takes a medical leave of absence from school, he spends more than half
the year in a sate of psychosis coma detached from reality and life, loses all of his friends
and personal relationships, is almost homeless, suffers incredible emotional pain, takes on
risky behavior, has to deal with thoughts of suicide for months in a mixed manic-
depressed state one of the most dangerous states of mind whereby people could
potentially lose their life.

33. Ever since then he has never been the same, has had to continuously be told regarding
what decision to make and where to go and what to do and what not do by his immediate
family members, lacking proper insight into life, what truly happened to him and the
extreme permanent dangers his treatment at University Health Services placed on his life,
including potential for recurrence and development of schizophrenia in the near future
due to the stimulant (amphetamine) induced psychosis that he suffered.

34. Dr. Kamvari in a semi functional-semi sick manner returns back to school and against
all odds finishes his training with help from faculty who now know his sad story.

35. Dr. Kamvari suffers from delusional beliefs for many years after graduation never
returning to normal life and function or making any social contact with anyone other than
immediate family. He believes for a very long time post graduation that Harvard wanted
his soul and that it’s his moral duty to expose the dangers for risk of life for another
student in the school. While his insight never comes back, he tries his hardest to expose
the dangers for loss of life at Harvard School of Dental Medicine.
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36. Dr. Kamvari tries to work in his profession but he is unable to do so; he is unable to
recover to his pre morbid functional levels and relies on his family to make his day-in and
day-out decisions.

37. Dr. Kamvari’s episode of psychoses changes his mind permanently. He faces
extreme hardship in facing reality and life on his own, can’t socialize with other people,
and continuously feels he will be homeless due to the permanent disability created by
University Health Services Doctors.

38. Dr. Kamvari attempts to work as a Dentist at several jobs, but he is unable to hold a
job. He suffered from memory lapses, Post Traumatic Stress Disorder and inability to
interact and socialize with people. He is unable to face reality and life independently
without the help of his family.

39. During his time in clinics he has to go to ER for treatment of chest pain due to the
overwhelming stress of feeling hopeless and disabled in life and not having any support.
Furthermore his illness progresses to the point that he has to take a 10 day medical leave
and exhaust all the sick days allowed in the residency, he has to see a cardiologist for the
tachycardia he has due to stress of feeling disabled in life and not having anyone to help
him recover his damaged life.

40. 7/01/2012 Dr. Kamvari starts a Dental Residency at Montefiore Medical Center
because he feels more comfortable to work under supervision and he thought it would
improve his chances of getting into an Orthodontic Residency (he thought he may have
an easier time as an Orthodontist).

41. During his Residency he notices something is seriously wrong with him, when
residents in the place he is working came up to him and made comments such as, “how
did you go to Harvard?’ or “we have never seen someone like you make it so far in life”
or “you are always in the zone, it seems you are disconnected from what goes on around
you”, faculty also ask him to see a neurologist, he is told by faculty that “he cant go on
through life like this”. These statements along with doing things such as leaving his car in
the parking lot and going home only to realize two weeks later that he had parked the car
in the parking lot at the placed he worked

42. Sometime around May of 2013, the combination of input from faculty and co-
residents and per the suggestion of Dr. Baskas, Director of Blondell Clinic (part of the
Dental Residency), Dr. Kamvari sees a neurologist and is prompted to get a neuropsych
evaluation; this test would provide Dr.Kamvari a first impression of his mental
functioning and provide a quantifiable measure of damage to his brain as a result of
manic psychosis he suffered at the hands of Harvard University Health Services.

43. On May 16th and 23rd 2013, Dr. Kamvari is seen by Dr. David Masur, who conducts
his neuropsychological testing, which indicates impairment of verbal memory (as
consistent with scientific studies that have shown verbal memory damage in patients who
undergo a manic episode), impairment of visuspatial processing abilities, executive
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function difficulties (as consistent with scientific studies on bipolar patients who undergo
a manic episode) and an overall cognitive profile that is indicative of diffuse cognitive
impairment (as consistent with studies that have shown cognitive damage is sustained per
each mood episode including a manic/psychosis episode).

44. Following his neuropsychological testing, and given the input of co-residents and
faculty during his residency and along with the discovery of articles on functional
recovery rates from an index manic episode, Dr. Kamvari for the first time discovered
that he had been permanently functionally and cognitively damaged by the maltreatment
of doctors at Harvard University Health Services.

45. The testing supports that Dr.Kamvari has sustained permanent brain damage/change
post stimulant induced manic psychosis after which he had a lack of insight of changes in
his life including the level of maltreatment he had received along the way.

46. Also, in support of his progressive cognitive decline, he was required to take one year
medical leave of absence in 2006, during which he spent close to half the year detached
from reality fighting thoughts of suicide on a daily basis, with his insight and ability to
face reality and the world never returning back to normal as is seen in many patients who
undergo psychosis.

47. He needed to repeat third year and finally graduated dental school all as a semi-
disabled student who continuously had to rely on help from immediate members of his
family to live and function and never fully regained his insight and premorbid cognitive
abilities.

48. His cognitive ability progressively declined to the point that he no longer can be
gainfully employed, can no longer socialize, had to recently turn down a highly
competitive Orthodontic Residency Opportunity offered by New York University, unable
to focus or even read simple books and suffers from PTSD (post-traumatic stress
disorder).

           COUNT I – MEDICAL MALPRACTICE (DR. Cynthia Carter)

49. Plaintiff Behnam Kamvari restates and reincorporates by reference each and every
allegation stated in paragraphs 1-41 above.

50. Dr. Cynthia Carter was negligent in her care and treatment of Dr. Kamvari in that she
failed to care for and treat him in accordance with the standard of care and skill required
of, and ordinarily exercised by the average qualified psychiatrist engaged in psychiatric
practice at the professional level, such as that in which Dr. Carter was engaged.

51. Dr. Carter was negligent by failing to follow the required standard of care and skill in
diagnosing Dr. Kamvari’s progressive worsening bipolar illness, and continuous
prescription of incorrect medication.
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52. Dr. Carter erroneously blamed Dr. Kamvari’s hypomanic behavior on pressures he
was feeling at school and his different ethnical background; she should have realized that
prescribing Zoloft and Lexapro (SSRI antidepressant) monotherapy (without the use of a
mood stabilizer) sent his bipolar disorder into a dangerous hypomanic stage.

53. On 06/26/2006 Dr. Carter’s medical notes state she has noticed bipolarity in Dr.
Kamvari; this would support discontinuance of all stimulants and an addition of a mood
stabilizer; she failed to do so. She renewed erroneous prescription of Adderral,
Dexedrine and Lexapro (antidepressant), all of which are counter indicatory and
dangerous for bipolar patients.

54. By prescribing of long acting and short acting amphetamine stimulants (Adderall and
Dexedrine) to a bipolar patient, Dr. Carter caused Dr. Kamvari’s antidepressant induced
hypomania state to spiral into mania and subsequently escalate into full blown manic
psychosis.

55. Dr. Kamvari was hypomanic since the time Dr. Irving initiated him on
antidepressants and Dr. Carter increased the dosage of antidepressants; his hypomania
was turned into a full-blown manic episode with the high dosage of stimulants prescribed
by Dr. Carter and the only time she mentions anything about stopping the stimulants is on
the appointment on 07/20/2006 a day after Dr. Kamvari had fully lost touch with reality
and entered a manic psychosis state and was sent to mental health urgent care by the
dental school.

56. While many people after such a tragic episode either lose their life or become
disabled in life and simply give up, Dr. Kamvari worked his hardest to save his future
from the damages done to his life, with his half disabled mind and progressively
worsening condition he battled the toughest battle come back to school and graduate

57. Due to the negligence he can no longer work, study or function as the illness’s course
had gotten progressively worse since its induction in 2006 to the point that he is now
permanently and mentally disabled for life.

58. As a direct and proximate result of the negligence of Dr.Carter, Dr. Kamvari suffered
injuries and damages including but not limited to delay in the diagnosis and treatment of
his bipolar illness, extreme emotional pain and suffering, financial loss, worsening of the
course of his bipolar illness to the point of suffering a major manic psychosis episode
whereby he was detached from reality for a period of months and had to battle the
thought of dying for months all alone and cause him to engage in risky behavior. He lost
long time friends as a result becoming manic, was almost expelled from school, was
forced to repeat a year in dental school, can’t be gainfully employed and most
importantly never attaining full functional recovery and becoming disabled for life; now
relying on his family for support.

WHEREFORE, Plaintiff Behnam Kamvari demands judgment against defendants Dr.
Cynthia Carter M.D., on Count I of Plaintiff’s Complaint in the amount that will justly
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compensate him for his damages, together with interest, costs and attorneys’ fees of this
action and against President and Fellows of Harvard College (Harvard Corporation).

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE IN
THIS MEDICAL MALPRACTICE ACTION

                                                              Respectfully Submitted,
                                                              Behnam Kamvari D.M.D.,
                                                              By his Attorney,

                                                              /S/ Ilya Liviz
                                                              Ilya Liviz, Esq. BBO
                                                              No.:686409
                                                              200 Central Street, No.1,
                                                              Lowell, MA 01852
                                                              Office (978) 221-6385
                                                              Fax (978) 221-6386
                                                              Email ilya.liviz@gmail.com

Dated: 6/03/2014


                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
and paper copies will be sent via U.S. first class mail to those indicated as non-registered
participants on June 4th, 2014.


                                                              /S/ Ilya Liviz
                                                              Ilya Liviz, Esq
